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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                      )
In re:                                )
                                      )                                     Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )                                     Case No. 19-34054 (SGJ)
                 Debtor.              )
                                      )
                                      )
HIGHLAND CAPITAL MANAGEMENT, L.P.     )
                                      )
                 Plaintiff,           )
vs.                                   )                                     Adv. Pro. No. 21-03006 (SGJ)
                                      )
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC.,                                 )
                                      )
                 Defendant.           )
                                      )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 23, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Order Granting Debtor’s Unopposed Motion for Leave to Serve and File Amended
         Complaint [Docket No. 64]


Dated: August 26, 2021
                                                           /s/ Vincent Trang
                                                           Vincent Trang
                                                           KCC
                                                           222 N Pacific Coast Highway, Suite 300
                                                           El Segundo, CA 90245


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                 Exhibit A
                                                           Adversary Service List
                                                          Served via Electronic Mail


              Description                       CreditorName               CreditorNoticeName                         Email
 Financial Advisor to Official Committee                             Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
 of Unsecured Creditors                  FTI Consulting              O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                                     Melissa S. Hayward, Zachery Z.MHayward@HaywardFirm.com;
 Counsel for the Debtor               Hayward & Associates PLLC      Annable                       ZAnnable@HaywardFirm.com
 Counsel for UBS Securities LLC and                                  Andrew Clubok, Sarah          andrew.clubok@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP           Tomkowiak                     sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC and                                  Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP           George                        Kathryn.George@lw.com
 Counsel for UBS Securities LLC and                                  Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP           Posin                         kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                Zachary.Proulx@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP           Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                                   mclemente@sidley.com;
                                                                     Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
 Counsel for Official Committee of                                   Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP              Dennis M. Twomey              dtwomey@sidley.com
                                                                                                   preid@sidley.com;
                                                                     Penny P. Reid, Paige Holden   pmontgomery@sidley.com;
 Counsel for Official Committee of                                   Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP              Chandler M. Rognes            crognes@sidley.com
 Counsel for Highland Capital                                        Deborah Deitsch-Perez,        deborah.deitschperez@stinson.com;
 Management Services, Inc.            Stinson LLP                    Michael P. Aigen              michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                      Exhibit B
                                                                Adversary Service List
                                                              Served via First Class Mail

               Description                    CreditorName             CreditorNoticeName                   Address1            City      State    Zip
  Counsel for UBS Securities LLC and                               Andrew Clubok, Sarah            555 Eleventh Street, NW,
  UBS AG London Branch                 Latham & Watkins LLP        Tomkowiak                       Suite 1000               Washington    DC      20004
  Counsel for UBS Securities LLC and                               Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
  UBS AG London Branch                 Latham & Watkins LLP        George                          Ste. 2800                Chicago       IL      60611
  Counsel for UBS Securities LLC and                               Jeffrey E. Bjork, Kimberly A.
  UBS AG London Branch                 Latham & Watkins LLP        Posin                           355 S. Grand Ave., Ste. 100 Los Angeles CA     90071
  Counsel for UBS Securities LLC and                               Zachary F. Proulx, Jamie        1271 Avenue of the
  UBS AG London Branch                 Latham & Watkins LLP        Wine                            Americas                    New York    NY     10020
  Counsel for Highland Capital                                     Deborah Deitsch-Perez,          3102 Oak Lawn Avenue,
  Management Services, Inc.            Stinson LLP                 Michael P. Aigen                Suite 777                   Dallas      TX     75219




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